                      Case 1:20-cv-01032-WJ-KRS Document F'TX"EI}
                                                         1 Filed 10/07/20 Page 1 of 13
                                                                       UNlTHil ST,&'fES DISTRICT COURT
                                                                       -
AO 243 (Rev. 09/17)                                                      aueuuuEiiQUE, NIEW MEXtco
                                                     Z25S.TO VACATE, SET ASIDE, OR"CCjRRECT
                           MOTION LTNDER 28 U.S.C. $ 22sl.TO,
                                              SENTENCE BY A PER'gdN
                                                            PER$oN'rN                FEqfth;J   8K$oo"li r*
United States District Court
Name      funder which you were eonvicted):
                                                                                     ,   CLERK/mP. *"
                                                                             i.*i.
                                                                                                                IEcr        l   lGZ w3.
Place of Confinement:                                                                      PrisonerNo.:
                                                                                                   o-\oB        - \51
                                                                                         Movant   gnclude name underwhich convicted)

                                                                   v. Qp.,*sr \u\\
                                                                       MOTION

     1.     (a) Name and location of court which entered the judgment of conviction you are challenging:

                    u.5. Dr:\s\ct Cous\
                    3Aj [-o$\as R\uA. N\) \tr ?afO
                    A\uerqf{-.\)}4,B?\oz ' -
            (b) Criminal docket or case number (if you know):

     2.     (a) Date of the judgment of conviction (if you know):
            (b) Date of sentencingt                                           -
     J.     LengIh of     sentence:           \Z SUO$nS
     4.     Nature of crime (all counts):
                          F<\oc.r1             tuc\        C",otqF-




     5.     (a) What was your plea? (Check one)
                   (1) Not goilry         I                      (2)   cuilty g                   (3) Nolo contendere (no contest)        l--l
     6.      (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictrnent,
             what did you plead guilty to and what did you plead not guilty to?




     6.      If you went to trial, what kind of trial did you have? (Check one)                          n'vf]              Judge      onlyM
     7.      Did you testiff at      a   pretrial hearing, trial, or post-trial hearing?        Yesn                        NoEI
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    8.       Did you appeal from the judgment of conviction?           Yes   n               NoM
    9.       If you did appeal, answer the following:
             (a) Name of court:
             ft) Docket or case number (if you know):
             (c) Result:
             (d) Date of result (if you know):
             (e) Citation to the case (if you know):
             (fl   Grounds raised:




             G) Did you file a petition for certiorari in the united states supreme court?       Yes   n           NOEf
                 If 'Yes," answer the following:
                    (1) Docket or case number (if you know):
                    (2) Result:


                     (3) Date of result (if you know):
                     (4) Citation to the case (if you know):
                     (5) Grounds raised:




    10.       Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
              conceming this judgment of conviction in any court?
               vesn NoEI
    I   l.    If your answer to Question l0 was'Yes," give the following information:
              (a) (t) Name of court:
                   (2) Docket or case nurnber (if you know):
                    (3) Date of filing (if you know):
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             (4)    Nature of the proceeding:
             (5)    Grounds raised:




             (6)    Did you receive a hearing where evidence was given on your motion, petition, or application?
                       vesfl *off
             (7)    Result:
             (8)    Date of result (if you know):
         (b) If you filed any   second motion, petition, or application, give the same information:
             (l)    Name of court:
             (2) Docket of case number (if you know):
             (3) Date of filing (if you know):
             (4) Nature of the proceeding:
             (5) Grounds raised:




              (6)   Did you receive a hearing where evidence was given on your motion, petition, or application?
                        ves   n        NoEf
              (7)   Result:
              (8)   Date of result (if you know):
         (c) Did you appeal to a federal    appellate court having jurisdiction over the action taken on your motion, petition,
         or application?
              (1)     petition:
                    First                    Yes            Nofl
              (2\ Second petition:           Yes            NofI
         (d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:
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  12.    For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
         laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
         supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROT'ND ONE:


         (a) Supporting facts (Do not    argue or cite   law. Just state the specific facts that support your claim.):

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         (b) DirectAppeal of Ground One:
              (1)    If you appealed from   the judgment of conviction, did you raise this issue?

                        Yern            NofI
              (2)    If you did not raise this issue in your direct appeal, explain why:



          (c) Post-Conviction Proceedings:
              (1)    Did you raise this issue iq any post-conviction motion, petition, or application?
                        y..n            NoM
              (2)    If you answer to Question (c)(1) is 'oYes," state:
              Type of motion or petition:
              Name and location of the court where the motion or oetition was filed:


               Docket or case number (if you know):
               Date of the court's decision:
               Result (attach a copy of the court's opinion or order,     if available):



               (3)   Did you receive a hearing ojr your motion, petition, or application?
                        vesn            NoM
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             (4)    Did you appeal from the denial of your motion, petition, or application?
                        veslll *"M
             (5)    If your answer to Question (c)(a) is "Yes," did you raise the issue in the appeal?
                        y.sn No EI'
             (6) If your answer to Question (c)(a) is'Yes,"         state:

             Name and location of the court where the appeal was filed:


             Docket or case number (if you know):
             Date of the court's decision:
             Result (attach a copy of the court's opinion or order,      if available):



             (7)    If your answer to Question (cX4) or Question (c)(5) is "1.[o," explain why you did not appeal or raise this
             issue:




 GROUND TWO:


         (a) Supporting     facts @o not argue or cite   law.   Just state the specific facts that support your claim.):




         (b) Direct.dppeal of Ground Two:
              (l)     If you appealed from   the judgment   of conviction, did you raise this issue?
                         Yesl--l NoEf
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            (2)    If you did not raise this issue in your direct appeal, explain why:



        (c) Post-Conviction Proceedings:
            (1)    Did you raise this issue in   gy   post-conviction motion, petition, or application?
                      ves    n        NoEI
            (2)    If you answer to Question (c)(1) is'Yes,"      state:

            Type of motion or petition:
            Name and location of the court where the motion or petition was filed:


            Docket or case number (if you know):
            Date of the court's decision:
            Result (attach a copy of the court's opinion or order,         if available):



            (3)    Did you receive a hearing on your motion, petition, or application?
                      ves    n        *"E[
            (4)    Did you appeal from the denial of your motion, petition, or application?
                       ves   l--l     *"M
            (5)    If your answer to Question (c)(a) is'Yes," did you raise the issue in the appeal?
                       Yes            N"E[
            (6)    If your answer to Question (cXa) is "Yes,"      state:

            Name and location of the court where the appeal was filed:


            Docket or case number (if you know):
             Date of the court's decision:
             Result (attach a copy of the court's opinion or order,        if available):



             (7)   If your answer to Question (c)(a) or Question (c)(5) is "I.lo," explain why you did not appeal or raise this
             issue:
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GROUND THREE:


        (a) Supporting facts (Do not argue or cite law.       Just state the specific facts that support your claim.):




         O) Direct Appeal     of Ground Three:
             (l)    If you appealed from   the judgment    of conviction, did you raise this issue?
                       vesn            NoEI
             (2\    If you did not raise this issue in your direct appeal, explain why:



         (c) Post-Conviction Proceedings:
              (l)   Did you raise this issue in   gy   post-conviction motion, petition, or application?
                       vesn            ^"Ef
              (2)   If you answer to Question (cXl) is 'Yes,"      state:

              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order,        if available):



              (3)   Did you receive a hearing on your motion, petition, or application?
                       vesn            N"   EI/
              (4)   Did you appeal from the dynil of your motion, petition, or application?
                       yesn            No   E[
              (5)   If your answer to Question 9)@ is "Yes," did you raise the issue in the appeal?
                        y..n           NoEI
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             (6)    If your answer to Question (c)(a) is'Yes,"      state:

             Name and location of the court where the aooeal was filed:


             Docket or case number (if you know):
             Date of the court's decision:
             Result (attach a copv of the court's opinion or order,      if available):



             (7)    If your answer to Question (c)(a) or Question (cX5) is "No," explain why you did not appeal or raise this
             issue:




 GROTJI\ID F'OUR:


         (a) Supporting     facts @o not argue or cite   law.   Just state the specific facts that support your claim.):




         (b) Direct Appeal of Ground tr'our:
              (1)     If you appealed from   the judgment   of conviction, did you raise this issue?
                         v".[            *"M
              (2)     If you did not raise this issue in your direct ap,peal, explain why:



         (c) Post-Conviction Proceedings:
              (1)     Did you raise this issue in q1y post-conviction motion, petition, or application?



              @
                         "..; *"d
                      If you answer to Question (cXl) is "Yes,"     state:
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              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order,    if available):



              (3)     Did you receive a hearingon your motion, petition, or application?
                         y"rn           N'EI
               (4)    Did you appeal from the denial of your motion, petition, or application?
                         verl-l         NoM

                               tr
               (5) Ifyour answer to Question     (9)(a) is "Yes," did you raise the issue in the appeal?
                         ves   l--l     *"M
               (6)    If your answer to Question (cXa) is "Yes,"   state:

               Name and location of the court where the appeal was filed:


               Docket or case number (if you know):
               Date of the court's decision:
               Result (attach a copy of the court's opinion or order,   if available):



               (7) If your answer to Question (cXa) or Question (c)(5) is "No," explain why you did not appeal or raise this
               issue:




   13.    Is there any ground in this motion that you have not previously presented in some federal court?   If   so, which
          ground or grounds have not been presented, and state your reasorls for not presenting them:
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  14.    Do you have any motion, petition, or appeal now ppnqing (filed and not decided yet) in any court for the
         you are challenging?            Yeslll      *o        ffi
         If "Yes,"    state the name and location of the court, the docket or case number, the type of proceeding, and the

         issues raised.




  15.    Give the name and address, if known, of each attorney who represented you in the following stages of the
         judgment you are challenging:
         (a) At   the preliminary hearing:


          (b) At the arraignment and Plea:


          (c) At the trial:


          (d) At sentencing:


          (e) On appeal:


          (0 In any post-conviction     proceeding:


          (g) On appeal from any ruling against you in a post-conviction proceeding:




   16.    Were you sentenced on more than one court of an indictnEent, or on more than one indichnent, in the same court
          and at the same     time?             Ves   n        No    El'
   t7.    Do you have any future sentence to serve afteryoy complete the sentence for the judgment that you are
          challenging?           Yes      lll     No        E[
          (a) If so, give name and location of court that imposed the other sentence you will serve in the future:



          (b) Give the date the other   sentence was imposed:

          (c) Give the length of the other sentence:
          (d) Have you filed, or do you plan to file,     any motion, petition, or application that challenges the judgment or

          sentence to be served in the   future?            Yes   n         *" M
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  18. TIMELINESS OF MOTION:            If your judgment of conviction   became final over one year ago, you must explain
          why the one-year statute of limitations as contained in 28 U.S.C. S 2255 does not bar your motion.*




      * The Antiterrorism and Effective Death Penalty Act of 1996 (*AEDPA") as contained in 28 U.S'C' $ 2255,
      paragraph 6, provides in part that:
      -
         A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
         from the latest of -
             (1) the date on which the judgment of conviction became final;
             (2) the date on which the impediment to making a motion created by governmental action in violation of
             the Constitution or laws of the United States is removed, if the movant was prevented from making such a
             motion by such governmental action;
             (3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
             been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
               review; or
               (4)  the date on which the facts supporting the claim or claims presented could have been discovered
               through the exercise of due diligence-
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Therefore. movant asks that the Court erant the followine relief:




or any other relief to which movant may be entitled.




                                                                      Signature of Attorney (if any)




I declare (or certiff, veriff, or state) under penalty of pe{ury that the foregoingis true and correct and that this Motion
under 28 U.S.C. * 2255 was placed in the prison mailing system *               fO         I
                                                                                  IOS     aOlO
                                                                                       (month, date, year)




Executed (sigued)      *   fo   lq \ aolO                             (date)



                                                                         64//
                                                                       R&.'..- D,
                                                                      Signature of Movant



If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.
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